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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                                Chapter 11

 CAESARS ENTERTAINMENT                                 Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                       Jointly Administered
                            Debtors.

                      MEMORANDUM OF LAW IN SUPPORT OF EARL
                     OF SANDWICH’S SUMMARY JUDGMENT MOTION

Dated: July 31, 2018

                                                      Joseph D. Frank (No. 6216085)
                                                      FRANKGECKER LLP
                                                      325 North LaSalle Street, Suite 625
                                                      Chicago, Illinois 60654
                                                      Tel: (312) 276-1400
                                                      Fax: (312) 276-0035
                                                      jfrank@fgllp.com

                                                      - and -

                                                      Jeffrey Chubak (admitted pro hac vice)
                                                      STORCH AMINI PC
                                                      140 East 45th Street, 25th Floor
                                                      New York, New York 10017
                                                      Tel: (212) 497-8247
                                                      Fax: (212) 490-4208
                                                      jchubak@storchamini.com

                                                      Counsel to Earl of Sandwich (Atlantic City),
                                                      LLC




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        Earl of Sandwich (Atlantic City), LLC submits this memorandum of law in support of its

summary judgment motion.1

                                  PRELIMINARY STATEMENT

        Following the commencement of this contested matter, initiated by Whitebox’s filing a

Transfer of Claim, Whitebox commenced a parallel contested matter in the Westinghouse Electric

Company, LLC chapter 11 cases pending before Bankruptcy Judge Michael E. Wiles in the

Southern District of New York. The underlying transfers of claim filed by Whitebox herein and

in Westinghouse are similar, insofar as they annex, as evidence of the transfer required under Rule

3001(e)(2), an explanation as to why Whitebox thought a creditor should be forced to transfer its

proof of claim to Whitebox, notwithstanding the absence of a signed agreement or the payment of

funds, followed by a series of e-mail communications, as opposed to a document signed by the

creditor confirming that it transferred its claim in consideration for the payment of funds.

        A trial in Westinghouse was held July 18, 2018, and a bench decision issued two days later,

a copy of which is annexed hereto as an Addendum (“Bench Dec.”). In his decision, Judge Wiles

rejected virtually every argument on which Whitebox’s cause of action herein is premised.

Specifically, Judge Wiles concluded that the subject communications between Whitebox’s broker

(Seaport) and the creditor (Landstar) did not result in contract formation, notwithstanding their

having agreed to pricing, because, inter alia, they agreed that any transaction would be subject to

documentation. (Bench Dec. 38, 49.) He also concluded that the imposition of additional terms

and conditions by Seaport after the parties reached agreement on price resulted in a counteroffer

that Landstar never accepted. (Id. 38-44, 47-48.)




1
 Capitalized terms used but not defined herein have the meanings ascribed to them in the accompanying
Statement of Material Facts, pursuant to Local Rule 7056-1 (“SMF”).

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        Judge Wiles further rejected Whitebox’s position, proffered by its expert herein, Peter

Lupoff, that it is industry custom that agreement on price gives rise to an enforceable agreement

to negotiate on other terms in good faith. Judge Wiles found Mr. Lupoff’s “vague testimony at

trial did not support the existence of any such custom,” and “in any event … the alleged customs

are not sufficient to override the plain meaning and effect of the communications that the parties

actually had.” (Id. 44-47.) Judge Wiles also observed that Mr. Lupoff’s position is inconsistent

with that taken by Seaport in a separate action, Luxor Capital Group, L.P. v. Seaport Group LLC,

148 A.D.3d 590 (1st Dep’t 2017), in which it “successfully argued in New York State Court that a

stock trade had no binding effect because the trade communications said that the deal was ‘subject

to’ the execution of written documents.” (Bench Dec. 45.)

        Judge Wiles explained that “Contracts are supposed to be matters of voluntary agreement;

they are not supposed to be traps for the innocent and unwary.” (Bench Dec. 46.) To that end,

Judge Wiles was extremely critical of the double standard Whitebox asserts should apply in the

bankruptcy claim trade business:

        What seems to be happening … is that the participants in this industry use language
        that reassures sellers that nothing is binding until the whole deal is done, and that
        permits the people in the industry to take different positions in different cases as to
        what the language means and what the customs allegedly are, depending upon the
        participants’ self-interest in those individual cases.

        To see this disparity, one need only contrast the positions taken by Whitebox here
        with the positions taken by Seaport in the New York State Court. No court should
        endorse such a practice.

        [M]uch of what Whitebox argues, in terms of custom, is not so much a request that
        there was an actual preliminary agreement here; rather it asks me, due to the needs
        of the industry, to impose one upon Landstar … That is not the proper role of a
        court.

(Id. 61.)

        This Court should likewise rule against Whitebox. As described below, the underlying

communications herein weigh even more heavily against a finding that a contract was formed, than
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those at issue in Westinghouse, putting aside that relief under Rule 3001(e) requires that a trade

claim agreement have closed, and not just mutual assent.

                                           ARGUMENT

I.      LEGAL STANDARD

        A.       Rule 3001(e)(2)

        Rule 3001(e)(2) requires the transferee of a proof of claim to file “evidence of the transfer”

together with the notice required by the Rule in order to affect the transfer of the claim on the

claims register, with the quoted term interpreted by the Advisory Committee Notes as meaning “a

statement of the transferor acknowledging the transfer and the consideration for the transfer.”

Under the Rule, “if a timely objection is not filed by the alleged transferor, the transferee shall be

substituted for the transferor.” If, however, an objection is timely filed, then the Court is required

to determine if “the claim has been transferred.” Notably, the relevant inquiry is not whether the

transferor entered into an agreement to sell the claim, but rather, whether the claim “has been

transferred” (i.e., any such agreement closed). This is evident from the fact that the Rule requires

the transferee file a “statement of the transferor” “acknowledging [receipt of] consideration for the

transfer” of the claim, which would not be possible prior to closing.

        B.       Summary Judgment

        Rule 56(a), made applicable by Rule 7056, provides “[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” “The moving party bears the initial burden of

demonstrating the absence of a genuine issue of material fact.” Roger v. Yellow Freight Sys., Inc.,

21 F.3d 146, 148 (7th Cir. 1994) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986)). Once

that burden is met, the party opposing summary judgment “must set forth specific facts showing

that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

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In considering a summary judgment motion, a court may not weigh conflicting evidence or make

credibility determinations. Omnicare, Inc. v. United Health Group, Inc., 629 F.3d 697, 704

(7th Cir. 2011).

II.     EARL NEVER TRANSFERRED ITS CLAIM

        The record evidence does not support Whitebox’s allegation that “Earl sold the Claim to

Cowen … in January 2017.” (Transfer of Claim Ex. 1, p.1.) In support of that allegation, Whitebox

points to e-mails annexed as Ex. A to the Seyfried Decl., which e-mails are also attached as an

exhibit to the A&R Agreement (included in Chubak Decl. Ex. 5). However, those e-mails do not

establish that “Earl sold the Claim to Cowen,” as alleged. All they show is Avallone and Schwab

preliminarily agreed to the price term for a potential trade, and Avallone believed the Claim was

allowed. The communications ended with Rosenblum sending Avallone a Draft AoC Agreement

without receiving a response. (SMF ¶¶31-44), whereupon Rosenblum and Schwab—the only two

persons with direct knowledge at Cowen—concluded “that seller has disappeared and that there is

most likely no transaction,” and to “kill it and move on” (id. ¶¶40-42). The transaction described

in the Draft AoC Agreement never closed, as it was never signed and the conditions precedent to

its effectiveness (id. ¶32) never occurred. Other allegations in the Transfer of Claim confirm that

not even Whitebox believes the Claim was transferred. In the very next paragraph, it states “Earl

committed to sell the Claim to Cowen under applicable law.” Rule 3001(e)(2) requires more than

a “commitment to sell the Claim;” rather, it requires a determination “that the claim has been

transferred.”2




2
  Significantly, Cowen never paid the person responsible for introducing Earl to it (Barrett Mikelberg),
which it would have been contractually required to do had the transaction closed. (SMF ¶5 n.1; id. ¶24 n.2;
id. ¶47.)

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III.    EARL NEVER AGREED TO TRANSFER ITS CLAIM

        Even if Rule 3001(e)(2) permitted an alleged transferee to enforce an unconsummated

claim transfer agreement by filing a transfer of claim under Rule 3001(e)(2), as opposed to suing

for breach of contract, Earl would still be entitled to summary judgment as the record evidence

establishes no enforceable Earl-Cowen agreement was ever formed.

        A.       Illinois Law Applies to the Question of Contract Formation

        Whitebox states New York law governs the question of contract formation, because the

unexecuted Draft AoC agreement includes a New York choice of law clause. (Transfer of Claim

Ex. 1, n.2, citing Draft AoC Agreement § 10.) While the outcome remains the same regardless of

what law applies, that argument fails. Kaufman v. Am. Express Travel Related Services Co., No.

07-cv-1707, 2008 WL 687224, at *3 (N.D. Ill. Mar. 7, 2008) (“The law is clear that, where a valid

contract has been formed, a court should enforce the choice of law provision … However, the

threshold question is whether the parties entered into a valid contract containing a choice of law

provision”).3

        Illinois choice of law rules apply to the question of contract formation. Id. at *4 (citing

Gramercy Mills, Inc. v. Wolens, 63 F.3d 569, 572 (7th Cir. 1995)). “Illinois follows the ‘most

significant relationship test’ for deciding among conflicting laws. Id.             That test “requires

examination of … five factors” (listed below), McIntosh v. Magna Sys., Inc., 539 F. Supp. 1185,

1188 (N.D. Ill. 1982), none of which support application of New York law. To the extent that the

factors apply, they are a wash between Illinois, Florida, and New York.


3
  Whitebox cites Highland Capital Mgmt., L.P. v. Bank of Am., N.A., No. 10-cv-1632, 2013 WL 4502789,
at *10-11 (N.D. Tex. Aug. 23, 2013) for the proposition that “New York law properly governs.” However,
the Highland Capital court concluded that New York law applied by operation of standard terms published
by the LSTA, which the parties previously agreed would apply to subsequent transactions between them
and which include a New York choice of law clause. Id. at *11. Here, there is no prior agreement between
Earl and Cowen, let alone one that provides its terms shall apply to subsequent transactions between them.

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                 (1) Place of Contracting. To the extent this factor applies, the January 11-12, 2017

e-mails and Draft AoC Agreement which Whitebox states collectively form the terms of the

alleged Earl-Cowen agreement (SMF ¶22) were exchanged between Avallone, who was located

in Florida, and Schwab and Rosenblum, who were located in New York.

                 (2) Place of Negotiation. To the extent this factor applies, it is likewise a wash

between Florida and New York.

                 (3) Place of Performance. This factor is inapplicable. There is no dispute that any

alleged contract was not performed.

                 (4) Location of Subject Matter of Contract. The Claim is on file with the Debtors’

claims agent, which operates as an agent of the Court by operation of 28 U.S.C. § 156(c) and its

retention order [ECF No. 51, ¶10].

                 (5) Parties’ Domicile, Residence, Place of Incorporation, and Place of Business.

Earl is a Florida corporation with no place of business, having closed its Atlantic City, New Jersey

store location. Cowen is a Delaware LLC headquartered in New York.

Thus, Illinois rules apply by default. ECHO, Inc. v. Whitson Co., 52 F.3d 702, 707 (7th Cir. 1995).

        B.       No Earl-Cowen Agreement was Ever Formed under Illinois Law

                 1.         Legal Standard

        Whitebox has the burden of proving all elements of a breach of contract claim by a

preponderance of the evidence. Heritage Commons Partners v. Village of Summit, 935 F.2d 1489,

1493 (7th Cir. 1991). Mutual assent is “determined by reference to what the parties expressed to

each other in their writings, not by their actual mental processes.” Laserage Tech. Corp. v.

Laserage Labs., Inc., 972 F.2d 799, 802 (7th Cir. 1992) (citing Skycom Corp. v. Telstar Corp., 813

F.2d 810, 814-15 (7th Cir. 1987)). This has become known as the “objective theory of intent.” Id.

See also Sgouros v. TransUnion Corp., 817 F.3d 1029, 1034 (7th Cir. 2016).

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        “If the parties have made the execution of a formal written agreement a condition precedent

to the formation of a contract, there can be no contract, even if all material terms have been agreed

upon.” Solaia Tech. LLC v. ArvinMeritor, Inc., No. 02-cv-4704, 2006 WL 695699, at *4 (N.D.

Ill. Mar. 16, 2006) (collecting cases). The Illinois Supreme Court described the following factors

as relevant to determining if parties intended a writing to be a condition precedent to contract

formation:

        [w]hether the contract is one usually put in writing; whether there are few or many
        details; whether the amount involved is large or small; whether it requires a formal
        writing for a full expression of the covenants and promises; and whether the
        negotiations themselves indicate that a written draft is contemplated as the final
        conclusion of the negotiations.

Id. at *7 (quoting Chicago Inv. Corp. v. Dolins, 481 N.E.2d 712, 714 (Ill. 1985)).

        “Also, where the anticipated document is never executed … conduct and statements

subsequent to the oral agreement may be decisive of the question whether a contract had been

made.” Ceres Ill., Inc. v. Ill. Scrap Processing, Inc., 500 N.E.2d 1, 5 (Ill. 1986).

                 2.         The Chicago Investment Corp. Factors Support a Determination that
                            Cowen and Earl Intended a Signed Writing to be a Condition Precedent to
                            Contract Formation

                            (i)    Whether the Contract is One Usually Put in Writing

        Whitebox’s former counsel herein, Douglas Mintz, stated it is “market practice” for parties

to paper bankruptcy claim transfer agreements with a “brief document confirming the trade, signed

by both parties.” (SMF ¶61.) Indeed, in the Westinghouse matter, Judge Wiles found “based on

the record that it is customary for parties in this industry to execute written documentation in

connection with the trading of claims.” (Bench Dec. 60) No document was ever executed here.

                            (ii)   Whether the Amount Involved is Large or Small

        Each of the Claim amount ($3.6 million), the purchase price under discussion in January

2017 ($2.15 million), and the delta between those amounts are large, and support a determination

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that execution of a written instrument was intended to be a condition precedent to contract

formation.

                            (iii)   Whether it Requires a Formal Writing for a Full Expression of the
                                    Covenants and Promises

        That none of the terms in the 10-page Draft AoC Agreement, save price and the

representation and warranty as to allowance, were included in the January 11-12, 2017 e-mail

exchange between Schwab and Avallone, demonstrates that “a formal writing” was needed “for a

full expression of the covenants and premises.” In addition, contrary to Mintz’s assertion (SMF

¶61), Rule 3001(e)(2) requires a formal writing to affect a transfer. The Advisory Committee

Notes are clear that the “evidence of transfer” required by the Rule must be “a statement of the

transferor acknowledging the transfer and the consideration for the transfer.” These notes are

accorded significant weight in interpreting the Rule. See, e.g., Adrian Vermeule, Judicial History,

108 Yale L.J. 1311, 1329 (1999) (“the [Supreme] Court frequently draws upon the advisory

committee notes as both persuasive scholarly commentary and an authoritative interpretive

source”). Whitebox’s position that e-mails between Schwab and Rosenblum, on the one hand, and

Avallone, on the other, suffice, notwithstanding that they neither acknowledge a prior transfer nor

payment of consideration to Earl for the Claim, is wrong.

                            (iv)    Whether the Negotiations Indicate that a Written Draft is
                                    Contemplated as the Final Conclusion of the Negotiations

                                    (a)      The Draft Assignment of Claim Agreement Makes Clear a
                                             Signed Writing was Contemplated as the Final Conclusion
                                             of Negotiations

        That a written draft was contemplated as the final conclusion of negotiations is clear from

the Draft AoC Agreement Cowen transmitted to Earl, which agreement Whitebox states formed a

part of the alleged Earl-Cowen agreement. (SMF ¶22.)



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        That Draft AoC Agreement includes a merger clause (id. ¶32) that provides it “supersedes

all prior agreements, understandings or representations pertaining to the subject matter hereof,

whether oral or written.” “Courts … routinely hold that a merger clause in the written draft of a[n]

agreement ‘is persuasive evidence that the parties did not intend to be bound prior to the execution

of a written agreement.’” In re Motors Liquidation Co., 580 B.R. 319, 345 (Bankr. S.D.N.Y. 2018)

(quoting Ciaramella v. Readers Digest Ass’n, Inc., 131 F.3d 320, 324 (2d Cir. 1997)) (additional

citations omitted).

        The Draft AoC Agreement also states in its Introduction (second paragraph) that it would

not become effective, and Cowen would have no obligation to pay Earl thereunder, unless and

until Earl and Cowen “have executed and delivered to each other this Agreement and the Notice

of Transfer.” (SMF ¶32.) Courts have interpreted similar provisions as meaning the parties did

not intend to be bound absent a signed writing. Woods v. Wickes Furniture, Inc., No. 09-cv-300,

2011 WL 1337089, at *4 (N.D. Ill. Apr. 7, 2011) (“language clearly identif[ying] Woods’s

signature as the event triggering the Agreement’s effectiveness … convey[s] the parties’ intention

for Woods’s signature to serve as a precondition to the … agreement’s enforceability”) (additional

citations omitted); see also Motors Liquidation, 580 B.R. at 345 (“Language stating [that a draft]

agreement is only effective upon signature of the parties has repeatedly been found to indicate

parties did not intend to be bound” absent a signature).

                              (b)      Earl-Cowen Communications Make Clear a Signed Writing
                                       was Contemplated as the Final Conclusion of Negotiations

        Communications between Earl and Cowen demonstrate they intended their negotiations to

conclude with a signed writing. On January 11, 2017, at 2:38 p.m., in response to an inquiry from

Schwab asking for evidence the Claim is allowed, Avallone stated “I can easily get a letter from

the Debtor/ Restructuring Officer confirming [the Claim is] allowed if we decide to move


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forward.” (SMF ¶12, emphasis added.) The underlined portion made clear Avallone did not view

his 2:04 p.m. e-mail (quoted in id. ¶10) as an offer that could bind Earl.

        Schwab’s response, sent January 11, 2017 at 3:47 p.m., confirms he did not wish to bind

Cowen absent a signed writing. Schwab stated “I would be a buyer of your $3.6mm allowed CZR

claim at $2.15 million … subject to” several conditions, including “(c) documentation,” and also

asked Avallone to “[p]lease confirm that you are good with the above terms and I will forward you

a purchase and sale agreement for review.” (Id. ¶13.) It would make no sense for Schwab to ask

Avallone to “confirm” that the potential trade under discussion would be “subject to …

documentation” and for Schwab to offer to send Avallone a draft agreement had Schwab

nevertheless wished to bind Cowen by a separate e-mail.

        Schwab’s next e-mail, his supposed acceptance of Avallone’s alleged offer, sent January

12, 2017, at 8:34 a.m., stated “If this is a transaction Planet Hollywood [Earl’s affiliate] would like

to pursue then we need to move quickly. As mentioned I can forward a draft document for your

review.” (Id. ¶14.) There would be no need to move further, or forward a draft document, had

Schwab intended to bind Cowen by that same e-mail. Schwab also states in that e-mail “Please

let me know ASAP so I can plan accordingly and accommodate you. So you are aware, it’s a bank

holiday on Monday which accelerates the need to move quickly.” Again, there would be

no need for Avallone to let Schwab know anything if Schwab understood that he and Avallone

had an agreement papered by that e-mail and Avallone’s e-mail of January 11, 2017, at 2:04 p.m.

(Id.) The 8:34 a.m. e-mail also referenced a “quick conversation” with Avallone. (Id.) Avallone

testified that he recalled having spoken with Schwab, and telling him any agreement to sell the

Claim would require prior approval from Robert Earl, whose family trust is Earl’s ultimate owner,




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and that Avallone also first needed to understand “how it affected me as a member of the unsecured

creditors committee”4 before the Claim could be sold. (Id. ¶16.) That testimony is uncontroverted.

        Avallone responded to Schwab at 9:47 a.m. that day. In his response Avallone did not “let

[Schwab] know” “[i]f this is a transaction [Earl] would like to pursue,” as Schwab had requested,

but instead simply asked Schwab to “[p]lease forward draft document,” presumably in response to

Schwab’s offer to send such document in his last two e-mails. (Id. ¶19.)

        Before sending Avallone the Draft AoC Agreement, Rosenblum e-mailed Whitebox a

Trade Confirm at 11:12 a.m. that day, which according to Whitebox “confirmed the terms of

Whitebox’s acquisition of the Claim from Cowen,” subject to the following conditions: “Cowen

executing an Assignment of Claim agreement with original holder of claim. Execution of a

mutually acceptable Assignment of Claim customary for the sale and purchase of distressed trade

claims.” (Id. ¶¶23-25.) Cowen understood the conditions to mean any Cowen-Whitebox trade

concerning the Claim was subject to execution of the written agreement Cowen contemplated

entering into with Earl. (Id. ¶¶51, 55, 65.)

        By the Trade Confirm, Rosenblum asked Whitebox to comment on her draft of the so-

called “upstream” agreement she intended to subsequently send Avallone, which Whitebox did.

(Id. ¶¶24, 30.) Naturally, there would be no need for Earl and Cowen to enter into that written

agreement had Cowen believed that it already had an agreement papered by e-mails with Avallone.

        On January 12, 2017, at 1:24 p.m., after receipt of the marked “upstream” agreement from

Whitebox’s counsel, Rosenblum sent the Draft AoC Agreement to Avallone. Her transmittal e-

mail stated: “we are … forwarding this draft document for your review, prior to diligence review,

completion to include language confirming the claim is allowed, and further review and comment


4
  That is because if Earl were dropped from the committee upon the Claim’s sale, it would not be entitled
to compensation payable to committee members under Section XII.G of the confirmed plan. (SMF ¶17.)
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by our counsel” (Id. ¶31), making clear Cowen was not yet prepared to be bound by the Draft AoC

Agreement (or any prior e-mails).

        Rosenblum sent follow-up e-mails on January 12, 2017, at 5:37 p.m., and the next morning,

at 9:10 a.m., asking if Avallone had questions or comments on the draft agreement, and inviting

him to reach out to her or Schwab to discuss “the process” and “next steps.” (Id. ¶34.) Rosenblum

sent a follow-up e-mail to Avallone on January 17, 2017, at 4:26 p.m., stating “We are available

to address any questions or concerns you may have about the document or process, and are

accustomed to working with our counterparties to negotiate a mutually acceptable agreement.”

(Id. ¶38.) Naturally, it would have made no sense to ask for Avallone’s comments so Cowen and

Earl could “negotiate a mutually acceptable agreement” had Cowen understood mutual assent had

already been achieved.5

        Rosenblum advised Schwab, by e-mail sent on January 18, 2017, at 7:13 a.m., “it seems

obvious” from Avallone’s non-responsiveness that Avallone “does not intend to proceed,” to

which Schwab responded “I would assume its gone and he is not interested in doing anything. I

would send one last email and tell him that after today it will be a much more difficult transaction

to complete. I would also tell Jillian [Bottge, of Cowen] that seller has disappeared and there is

likely no transaction.” (Id. ¶¶39-40.) Rosenblum “agree[d] with all you [Schwab] wrote” in that

e-mail. (Id. ¶41.) Schwab further advised Rosenblum “If you have no response by noon your time

just kill it and move on,” to which Rosenblum responded “Okay, really made every effort but

although he considered it, doubt he was ever a serious seller.” (Id. ¶42.) Cowen clearly understood




5
  Avallone also testified that he spoke with Rosenblum in the interim, on or about January 13, 2017, and
told her what he told Schwab—that any agreement to sell the Claim would require Robert Earl’s prior
approval and that he first needed to understand how a sale would affect his ability to remain on the creditors’
committee. (SMF ¶¶35-37.) That testimony is uncontroverted.

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that any transaction with Earl would be documented by the Draft AoC Agreement, and believed

there was no agreement absent an executed version of the same.

        Rosenblum’s “one last email” to Avallone, sent that day at 9:33 a.m., asked “Would you

kindly advise by noon … if you plan to move ahead with the transaction or we will assume you

are no longer interested.” (Id. ¶43.) Cowen clearly did not believe it already had an agreement

with Earl. Avallone naturally understood from this e-mail that negotiations self-terminated by his

not responding. (Id. ¶44.)

        Notwithstanding the e-mail traffic, Whitebox has taken the position herein that Earl and

Cowen had an enforceable agreement, on the ground that Schwab and Rosenblum testified that

they thought they had a deal with Avallone based on their having agreed to the price term for a

potential trade. Their subjective beliefs are irrelevant, given that Illinois ascribes to the objective

theory of contract formation, as does New York, putting aside that Cowen committed to cooperate

with Whitebox in this litigation, pursuant to the A&R Agreement. (Id. ¶66, 79.)

                 3.         The Earl-Cowen Communications Did Not Give Rise to Mutual Assent for
                            Additional Reasons

                            (i)   Schwab Rejected any Conceivable Offer Before his Purported
                                  Acceptance

        Even if Avallone’s e-mail to Schwab of January 11, 2017, at 2:04 p.m., could somehow be

construed as an offer that could have bound Earl (which Earl disputes), each of Schwab’s 2:17 and

3:47 p.m. e-mails of that day, both of which had conditions attached,6 constituted a counteroffer

which had the effect of rejecting Avallone’s alleged prior offer. See 2 Williston on Contracts §

6:13 (4th ed.) (“A conditional acceptance is, in effect, a statement that the offeree is willing to


6
  The former e-mail stated “I would have interest at 59.72% [the price] subject to confirming” that the Claim
is allowed. The latter e-mail included four conditions: “(a) written confirmation from the debtor that the
claim is a Class I and allowed (b) additional due diligence (c) documentation and (d) closing before close
of business Tuesday January 17th.” (SMF ¶¶11, 13.)

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enter into a bargain differing in some respect from that proposed in the original offer. The

conditional acceptance is, therefore, itself a counteroffer and operates to reject the original offer,

so that thereafter even a purportedly unqualified acceptance of that offer will not form a contract”);

Williams v. Toshiba Am. Med. Sys., Inc., No. 93-cv-3448, 1994 WL 162784, at *8 (N.D. Ill. April

25, 1994). That is likewise the case under New York law. (Bench Dec. 16-17 (collecting cases.))

As a result, Schwab could not have later accepted the alleged offer by Schwab’s e-mail sent at

8:34 a.m. the next day.7 The Draft AoC Agreement, which added numerous additional terms,

likewise would have constituted a counteroffer.

                            (ii)   Later Communications Show Cowen and Whitebox Understood Earl
                                   was Not Bound Due to the Absence of a Signed Writing

        Statements subsequent to the alleged agreement may be decisive as to the question of

whether a contract had in fact been made, as noted above. Ceres, 500 N.E.2d at 5. Patel testified

that on receipt of the Trade Confirm from Rosenblum, “we [Whitebox] were confident that Cowen

had executed a similar confirm with Earl of Sandwich,” based on Whitebox’s prior dealings with

Cowen and its predecessors, which had “facilitated the purchase by Whitebox of 80 percent of the

Class I claims in the case.” (Id. ¶28; see also id. ¶24 n.2, discussing Whitebox’s expectation that

it would enter into “downstream” agreement with Cowen the terms of which would “mirror” that

of a prior “upstream” Earl-Cowen agreement.)

        Patel therefore asked Bottge if “we have a confirm in place” on January 19, 2017. (Id. ¶49.)

Bottge declined to answer, and instead stated “im hoping the guy [Avallone] has a bad case of gout

and his internal counsel is working through the language” in the Draft AoC Agreement. (Id.)


7
  Both Cowen and Whitebox testified these and other conditions were not previously waived. (SMF ¶21.)
Whitebox’s response is that it could waive these conditions after-the-fact, because the conditions exist for
its sole benefit. That argument fails. Whitebox threatened to sue Cowen for failure to deliver the Claim on
multiple occasions (id. ¶¶64, 68 n.5), and Cowen pointed to unsatisfied conditions in the Trade Confirm to
explain why it had no liability (id. ¶¶51, 55, 66).

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Again, Cowen clearly did not believe that Earl was bound by prior e-mails with it, or the

unexecuted Draft AoC Agreement.

        Stukas asked Bottge about the status of Whitebox’s trade on February 2, 2017, to which

she responded “In the confirm, trade is sub to us executing an assignment of claim agreement with

the original holder and due diligence .. I have neither from the seller.” (Id. ¶51.) Five days later,

Bottge confessed to Patel that there was no confirm, when he asked her to send him a copy of the

same because “we want to look at the language.” (Id. ¶¶53-56.) Patel expressed astonishment that

Cowen had not secured an “upstream” confirm from Earl before confirming a trade with Whitebox

(id. ¶53, “didn’t you guys get a confirm from them to match the downstream”), making clear

Whitebox expected Cowen to have locked Earl into a trade by an “upstream” confirm prior to

confirming a trade with Whitebox.

        After Whitebox threatened legal action against Cowen for failure to deliver the Claim,

pursuant to the Trade Confirm (id. ¶¶ 64, 68, n.5), Cowen advised Whitebox that it would defend

such action by arguing that performance was impossible (i.e., Cowen had no legal rights to enforce

against Earl), and agreed in principle to assign to Whitebox any cause of action that Cowen may

have against Earl. (Id. ¶65.) Patel was not excited about this proposal because he “fear[ed] Cowen

is actually the party that screwed up” (id. ¶67) presumably by confirming a trade with Whitebox

prior to Cowen’s entry into an “upstream” confirm with Earl. Still, Whitebox apparently agreed

to move forward with the proposed assignment.

        During negotiations, Cowen advised Whitebox that it would not make any representations

or warranties with respect to rights it may have against Earl. (Id. ¶70.) Cowen further refused to

represent and warrant taking legal action against Earl would not violate Rule 11, despite repeated

requests by Whitebox that it do so. (Id. ¶¶71-75.)

        C.       No Earl-Cowen Agreement was Ever Formed under New York Law

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                 1.         The Winston Factors Weigh in Earl’s Favor

        New York courts consider four factors in determining “whether the parties intended to be

bound in the absence of a document executed by both sides.” Winston v. Mediafare Entm’t Corp.,

777 F.2d 78, 80 (2d Cir. 1985). “No one Winston factor is decisive, and the analysis ultimately

hinges on the parties’ intent demonstrated through their objective communications and conduct.”

Motors Liquidation, 580 B.R. at 344. Two Winston factors are covered by the Chicago Inv. Corp.

factors, “(1) whether there has been an express reservation of the right not to be bound in the

absence of a writing”8 and “(4) whether the agreement at issue is the type of contract that is usually

committed to writing,” 777 F.2d at 80, both of which weigh in Earl’s favor. The remaining factors

also weigh in Earl’s favor. The second is “whether there has been partial performance of the

contract.” Id. Whitebox has taken the position that all terms of the alleged Earl-Cowen agreement

are in the January 11-12, 2017 communications and the Draft AoC Agreement. (SMF ¶22.) It is

undisputed that no portion of that alleged agreement has been performed. The third is “whether

all of the terms of the alleged contract have been agreed upon.” It is undisputed that the only terms

expressly agreed on was price, and Claim allowance. No agreement was reached on the litany of

additional terms in the 10-page Draft AoC Agreement, which Avallone viewed as unsatisfactory

and overly complex. (Id. ¶33.)

                 2.         New York General Obligations Law § 5-701(b)(3) Does Not Support
                            Whitebox’s Contract Formation Theory

        Whitebox argues the alleged Earl-Cowen agreement “need not be evidenced by a signed

writing” because it is a “qualified financial contract” under N.Y. Gen. Oblig. Law § 5-701(b)(2)(i)

(Transfer of Claim Ex. 1, p.2), which establishes an exception to the statute of frauds, as it applies


8
  Whitebox has taken the position this factor weighs in its favor, under New York law, citing Stonehill
Capital Mgm’t LLC v. Bank of the West, 28 N.Y.3d 439 (2016) [ECF No. 7120, ¶¶33, 35]. That decision
is inapposite, for reasons articulated by Judge Wiles. (Bench Dec. 50-57.)

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to agreements that cannot be performed within one year from the making thereof under subdivision

(a)(1). That argument fails. At the outset, subdivision (b) is inapplicable because it is a statutory

exception to subdivision (a)(1), which itself is inapplicable. Even if subdivision (b) were relevant,

the argument would still fail, as under subdivision (b)(1)(a) for a qualified financial contract to be

enforceable there must still be “sufficient evidence to indicate that a contract has been made.”

Subdivision (b)(3) specifies circumstances under which there is such evidence. However, none of

the circumstances specified apply. Subdivision (b)(3)(a) is inapplicable because the e-mails

exchanged between Cowen and Avallone are not “electronic communication[s] sufficient to

indicate that in such communication a contract was made between the parties.” The remaining

subdivisions are plainly inapplicable.

IV.      EARL HAD NO DUTY TO NEGOTIATE WITH COWEN

        Whitebox has taken the position that once the parties agreed on price, Cowen had a one-

sided option contract whereby Earl had a duty to negotiate and close on a trade, whereas Cowen

could elect not to close depending on the results of its diligence. Putting aside that Rule 3001(e)(2)

does not permit the filing of a claim transfer where one party has breached a duty to negotiate, the

sole support for Whitebox’s theory is the expert report of Peter Lupoff, opining on industry custom

based on his supposed industry experience.

        That position should be rejected. The report is inadmissible hearsay [ECF No. 7796, n.2].

In addition, in Westinghouse, Mr. Lupoff’s testimony was rejected as vague, self-serving, and

inconsistent with positions taken by industry participants (Seaport) in separate litigations.

(Bench Dec. 44-46.) Further, his position is inconsistent with the view of recognized bankruptcy

experts. See, e.g., Chaim Fortgang and Thomas Moers Mayer, Trading Claims and Taking Control

of Corporations in Chapter 11, 12 Cardozo L. Rev. 1, 19 (Oct. 1990) (“Failure to agree on these

provisions [representations, warranties, indemnities, etc.] has destroyed a surprisingly large

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number of deals after claims buyers and claims sellers agreed on economic terms”). It is also

inconsistent with the views of Whitebox’s own former counsel herein. Aaron Hammer, Claims

Trading: The Wild West of Chapter 11s, XXIX Am. Bankr. J. No. 6 (July/Aug. 2010). Finally, it

is well established, under both Illinois and New York law, no duty to negotiate exists absent a prior

agreement to do so. Bercoon, Weiner, Glick and Brook v. Manufacturers Hanover Trust Co., 818

F. Supp. 1152, 1157 (N.D. Ill. 1993) (citing A/S Apothekernes Laboratorium for Specialpreparater

v. I.M.C. Chem. Group, Inc., 873 F.2d 155 (7th Cir. 1989)); Solus Alternative Asset Mgm’t LP v.

Perry Corp., No. 652341/2012, 2015 WL 4240999, at *10 (Sup. Ct. N.Y. Co. July 13, 2015).

No such prior agreement exists here.

        As noted by Judge Wiles, had Cowen “intended that there be a binding Type II contract

[i.e., an agreement giving rise to a duty to negotiate], it could and should have clearly and explicitly

asked [the creditor] to confirm that the parties had an enforceable agreement as to price and that

the parties were entering into a binding and enforceable agreement to negotiate other terms in good

faith.” (Bench Dec. 46; see also id. 60-61.)

V.      WHITEBOX LACKS STANDING

        Whitebox lacks standing to enforce any alleged Earl-Cowen agreement, as the A&R

Agreement, the instrument on which standing is premised (in Transfer of Claim Ex. 1, p.3), is

champertous under N.Y. Judiciary Law § 489(1) and therefore void. Semi-Tech Litig., L.L.C. v.

Bankers Trust Co., 272 F. Supp. 2d 319, 331 (S.D.N.Y. 2003).

        Section 489(1) prohibits claim assignments made “with the intent and for the primary

purpose of bringing a lawsuit.” The A&R Agreement states that its purpose was to permit

Whitebox to sue Earl. The last recital states it was entered into because Whitebox “desire[d] to

purchase, acquire and receive, the Transferred Rights,” defined as “any and all actions, claims …

and/or causes of action [Cowen] has against [Earl] arising out of or in connection with the Seller

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Transaction,” a term defined as Cowen’s attempt to buy the Claim from Earl. (SMF ¶76.)

Whitebox bought those rights and released Cowen in exchange for $1 and a covenant to cooperate.

(Id. ¶¶76-79.) Whitebox also proposed that Cowen assign it the right to sue Earl, long before

entering into the A&R Agreement, to satisfy claims threatened against Cowen for failing to deliver

the Claim. (Id. ¶64.)

        Whitebox has taken the position that champerty is inapplicable because it had a preexisting

proprietary interest in the Claim, under the Trade Confirm. Cf. Trust for the Certificate Holders

of Merrill Lynch Mortg. Invs., Inc. v. Love Funding Corp., 13 N.Y.3d 190, 198-99, 202 (2009)

(assignment of cause of action to securitization trust that held and carried risk of financial loss

associated with defaulted mortgage loan not champertous). That argument fails. Whitebox did

not acquire a proprietary interest in the Claim, or carry risk of financial loss associated with it,

under the Trade Confirm. That Whitebox may have suffered losses from “hedging this claim that

we thought we were done on” under a separate transaction (SMF ¶52) is irrelevant. Nor was

Whitebox assigned any right to sue Earl under the Trade Confirm. Kaplan v. Shure Bros., Inc., 266

F.3d 598, 602 (7th Cir. 2001) (assignment of entire beneficial interest in land trust that was party

to real estate contract with real property seller insufficient to confer standing to sue seller on

assignee; assignor’s right to sue for breach had to have been “expressly and validly transferred to

assignee by some instrument” to confer standing on assignee).

                                          CONCLUSION

        An order should be entered declining to substitute Whitebox for Earl as the owner and

holder of the Claim, pursuant to Rule 3001(e)(2), and directing the Debtors to promptly distribute,

or cause to be distributed, to Earl, all cash, securities, and other property payable on account of the

Claim under their plan, together with all interest and dividends paid or accrued on account of said

distributions since the plan effective date.

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Dated: July 31, 2018                              Respectfully submitted,


                                                  /s/ Joseph D. Frank
                                                  Joseph D. Frank (No. 6216085)
                                                  FRANKGECKER LLP
                                                  325 North LaSalle Street, Suite 625
                                                  Chicago, Illinois 60654
                                                  Tel: (312) 276-1400
                                                  Fax: (312) 276-0035
                                                  jfrank@fgllp.com

                                                  - and -

                                                  Jeffrey Chubak (admitted pro hac vice)
                                                  STORCH AMINI PC
                                                  140 East 45th Street, 25th Floor
                                                  New York, New York 10017
                                                  Tel: (212) 497-8247
                                                  Fax: (212) 490-4208
                                                  jchubak@storchamini.com

                                                  Counsel to Earl of Sandwich (Atlantic City),
                                                  LLC




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                                    CERTIFICATE OF SERVICE

        I, Joseph D. Frank, an attorney, hereby certify that on July 31, 2018, a true and correct

copy of the foregoing Memorandum of Law in Support of Earl of Sandwich’s Summary

Judgment Motion was filed electronically. Notice of the filing will be sent to all parties who

are currently on the Court’s Electronic Mail Notice List, a copy of which is attached hereto, by

operation of the Court’s Electronic Filing System.

                                                                             /s/ Joseph D. Frank


Mailing Information for Case 15-01145

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service for this
case.

       David S Adduce dadduce@komdr.com
       David A Agay dagay@mcdonaldhopkins.com,
        mbrady@mcdonaldhopkins.com;bkfilings@mcdonaldhopkins.com
       Charles G Albert calbert@awpc-law.com, ecrouch@awpc-law.com
       Stephanie Albrecht-Pedrick spedrick@youngbloodlegal.com
       Angela M Allen aallen@jenner.com
       R Scott Alsterda rsalsterda@nixonpeabody.com
       Jeffrey E Altshul jaltshul@altshullaw.com
       Rick Amos amoslaw@cableone.net
       Margaret M Anderson panderson@foxswibel.com,
        cjelks@foxswibel.com;bkdocket@foxswibel.com
       George P Apostolides george.apostolides@saul.com, leanne.solomon@saul.com
       Edmund Aronowitz earonowitz@gelaw.com,
        alebdjiri@gelaw.com;tschuster@gelaw.com;gnovod@gelaw.com
       Amy A Aronson amyaronson@comcast.net, amyaronson@comcast.net
       Reuel D Ash rash@ulmer.com
       Brian A. Audette baudette@perkinscoie.com,
        nbagatti@perkinscoie.com;docketchi@perkinscoie.com;brian-audette-perkins-coie-
        8180@ecf.pacerpro.com;russ-allen-6413@ecf.pacerpro.com;rdallen@perkinscoie.com
       Jason Bach jbach@bachlawfirm.com,
        aloraditch@bachlawfirm.com,sandra.herbstreit@bachlawfirm.com
       Joseph A Baldi jabaldi@baldiberg.com,
        jmanola@baldiberg.com;r51351@notify.bestcase.com
       Ronald Barliant ronald.barliant@goldbergkohn.com, kristina.bunker@goldbergkohn.com
       Paige E Barr paige.barr@kattenlaw.com
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     William J. Barrett william.barrett@bfkn.com,
      mark.mackowiak@bfkn.com;gregory.demo@bfkn.com;ecf-
      6ec602372536@ecf.pacerpro.com;william-barrett-bfkn-3622@ecf.pacerpro.com
     Leslie Allen Bayles leslie.bayles@bryancave.com
     Richard M Bendix rbendix@dykema.com
     Robert R Benjamin rrbenjamin@gct.law,
      mperez@gct.law;myproductionss@gmail.com;tstephenson@gct.law;aleon@gct.law;r61390@not
      ify.bestcase.com
     Bruce Bennett bbennett@jonesday.com, slevinson@jonesday.com;dciarlo@jonesday.com
     Michael T. Benz benz@chapman.com, eickmann@chapman.com
     Peter L Berk plberk@orb-legal.com, hmilman@orb-
      legal.com;milmanhr42820@notify.bestcase.com;hmbonesteel@gmail.com
     Mark A Berkoff mberkoff@ngelaw.com,
      cdennis@ngelaw.com,ecfdocket@ngelaw.com,mmirkovic@ngelaw.com
     Florence Bonaccorso-Saenz florence.saenz@la.gov
     Ross T Brand rbrand@klueverplatt.com, bknotice@klueverplatt.com
     Adam G. Brief Adam.Brief@usdoj.gov
     Erich S Buck ebuck@ag-ltd.com, aweir@ag-ltd.com
     Christopher M Cahill ccahill@lowis-gellen.com, abockman@lowis-gellen.com
     Edwin H Caldie ed.caldie@stinson.com, laura.schumm@stinson.com
     Matthew Callister mqc@call-law.com
     Andrew D. Campbell acampbell@novackmacey.com
     Christine M Capitolo cmc@tbpc.net
     John P Carlin jcarlin@suburbanlegalgroup.com, suburbanlegalgroup@iamthewolf.com
     Kurt M. Carlson kcarlson@carlsondash.com,
      knoonan@carlsondash.com;bmurzanski@carlsondash.com
     Frederick L Carpenter fcarpenter@dfreeland.com
     Timothy R Casey timothy.casey@dbr.com, andrew.groesch@dbr.com
     Steven B Chaiken schaiken@ag-ltd.com, aweir@ag-ltd.com
     Hugo L Chanez hchanez@cochranfirm.com
     Thomas A Christensen tchristensen@huckbouma.com, mheneghan@huckbouma.com
     Jeffrey Chubak jchubak@storchamini.com
     Scott R Clar sclar@craneheyman.com,
      mjoberhausen@craneheyman.com;asimon@craneheyman.com
     Joseph E Cohen jcohen@cohenandkrol.com,
      jcohenattorney@gmail.com;gkrol@cohenandkrol.com;jneiman@cohenandkrol.com;acartwright
      @cohenandkrol.com
     Christopher Combest christopher.combest@quarles.com, Faye.Feinstein@quarles.com
     William J Connelly wconnelly@hinshawlaw.com, ihernandez@hinshawlaw.com
     Daniel Czamanske dan@chapman-lewis-swan.com, debbie@chapman-lewis-swan.com
     Ryan Dahl ryan.dahl@kirkland.com,
      david.eaton@kirkland.com;joe.graham@kirkland.com;josh.altman@kirkland.com;alyssa.bachma
      n@kirkland.com;nicole.stringfellow@kirkland.com
     Ryan A Danahey rad@doherty-progar.com
     Debra Dandeneau Debra.Dandeneau@bakermckenzie.com,
      dana.kaufman@weil.com,lori.seavey@weil.com
     Alex Darcy adarcy@askounisdarcy.com
     Aaron Davis aaron.davis@bclplaw.com,
      CHDocketing@bclplaw.com;kathryn.farris@bclplaw.com
     Jason J DeJonker jason.dejonker@bclplaw.com,
      carol.duracka@bclplaw.com;chdocketing@bclplaw.com
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     Denise A Delaurent USTPRegion11.es.ecf@usdoj.gov,
      Denise.DeLaurent@usdoj.gov;maria.r.kaplan@usdoj.gov
     Maria A Diakoumakis mdiakoumakis@dykema.com,
      DocketCH@dykema.com,bmederich@dykema.com
     Edward Dial edial@schreiblaw.com
     Chris L. Dickerson chris.dickerson@dlapiper.com,
      jeremy.hall@dlapiper.com;jonathan.pfleeger@dlapiper.com
     Ira S Dizengoff idizengoff@akingump.com,
      srochester@akingump.com;jrubin@akingump.com;apreis@akingump.com;tyhong@akingump.co
      m
     Kevin W Doherty kwd@doherty-progar.com
     Dino J Domina djd@ddominalaw.com
     Robert L Doty robert.doty@ohioattorneygeneral.gov
     David R Doyle ddoyle@foxrothschild.com, kjanecki@foxrothschild.com
     Devon J Eggert deggert@freeborn.com, bkdocketing@freeborn.com
     Robert E Eggmann ree@carmodymacdonald.com,
      pjf@carmodymacdonald.com;reggmann@ecf.inforuptcy.com;ala@carmodymacdonald.com
     William J Factor wfactor@wfactorlaw.com,
      wfactorlaw@gmail.com;bharlow@wfactorlaw.com;wfactor@ecf.inforuptcy.com;wfactormyecfm
      ail@gmail.com;factorwr43923@notify.bestcase.com
     Thomas R. Fawkes tomf@goldmclaw.com
     Laura M. Finnegan lmfinnegan@baumsigman.com
     Daniel A Fliman courtnotices@kasowitz.com
     Erik Fox efox@cogburnlaw.com
     Joseph D Frank jfrank@fgllp.com,
      ccarpenter@fgllp.com;jkleinman@fgllp.com;mmatlock@fgllp.com
     Jamie S Franklin jsf@thefranklinlawfirm.com
     Jonathan P Friedland jfriedland@sfgh.com, bkdocket@sfgh.com
     Adam Friedman afriedman@olshanlaw.com
     Thomas B Fullerton thomas.fullerton@akerman.com
     Matthew Gartner matthew.gartner@huschblackwell.com, legalsupportteam-10flnorth-
      slc@huschblackwell.com
     Eugene J Geekie Eugene.geekie@saul.com, cynthia.enright@saul.com
     Mary Anne Gerstner gerstlaw2@sbcglobal.net
     Sara T Ghadiri ghadiri@chapman.com
     Steven A Ginther ndilecf@dor.mo.gov
     Gabriel Glazer gglazer@pszjlaw.com
     David L Going dgoing@armstrongteasdale.com, crupp@armstrongteasdale.com
     Craig T Goldblatt craig.goldblatt@wilmerhale.com
     Gordon E. Gouveia ggouveia@foxrothschild.com, kjanecki@foxrothschild.com
     Lorraine M Greenberg lgreenberg@greenberglaw.net, r41893@notify.bestcase.com
     Joshua Greenblatt josh.greenblatt@kirkland.com, kenymanagingclerk@kirkland.com
     Nicole Greenblatt nicole.greenblatt@kirkland.com,
      bfriedman@kirkland.com;patrick.evans@kirkland.com;melissa.koss@kirkland.com;alex.cross@
      kirkland.com
     Lisa S Gretchko lgretchko@howardandhoward.com
     Steven B Gross sbg224@gmail.com
     Cameron M Gulden USTPRegion11.es.ecf@usdoj.gov
     Stephen C Hackney stephen.hackney@kirkland.com
     William S Hackney whackney@salawus.com,
      jadams@salawus.com,mcockream@salawus.com,dkreide@salawus.com
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     Oren B Haker oren.haker@stoel.com, docketclerk@stoel.com;jennifer.lowes@stoel.com
     Kristopher
      Hansen mmagzamen@stroock.com;dmohamed@stroock.com;jcanfield@stroock.com;fmerola
      @stroock.com;jlau@stroock.com;mlaskowski@stroock.com
     Carrie Hardman chardman@winston.com, dcunsolo@winston.com;carrie-hardman-
      4684@ecf.pacerpro.com
     B Lane Hasler lanehasler@blhpc.com
     Teri L Havron teri@ghalaw.com, tracee@ghalaw.com
     Mark F Hebbeln mhebbeln@foley.com
     Ashley Hendricks ahendricks@cglawms.com
     Bernard A Henry bhenry@rieckcrotty.com
     Daniel O Herrera dherrera@caffertyclobes.com
     David R Herzog drhlaw@mindspring.com, herzogschwartz@gmail.com
     Timothy W Hoffmann thoffmann@jonesday.com, kdenton@jonesday.com
     John M Holowach jholowach@jmhlegalgroup.com, bankruptcy@rjlegalgroup.com
     Patrick L Huffstickler phuffstickler@dykema.com, aseifert@dykema.com
     Paula K. Jacobi pjacobi@btlaw.com, jsantana@btlaw.com
     Steve Jakubowski sjakubowski@rsplaw.com
     Elizabeth L Janczak ejanczak@freeborn.com, bkdocketing@freeborn.com
     Bridgette E Jenkins bjenkins@walinskilaw.com
     Julie A. Johnston-Ahlen jjohnston-ahlen@novackandmacey.com,
      mbianchi@novackmacey.com
     Gary M. Kaplan gkaplan@fbm.com
     Harold L. Kaplan hkaplan@foley.com
     Brett A Kaufman brett@kaufmanlegal.net
     Dennis J Kellogg dennisk@denniskellogglaw.com
     Benjamin Kelly benkellysr@comcast.net
     Michael Kelly michael.kelly@usdoj.gov, MRavelo@usa.doj.gov
     Claire G Kenny cgkenny@mgklaw.com
     Brittany E Kirk brittany.kirk@dinsmore.com, alison.kidney@dinsmore.com
     John Klamo gillt222@gmail.com
     Gregg Kleiner gkleiner@mckennalong.com, wowen@mckennalong.com
     Jeremy C Kleinman jkleinman@fgllp.com, ccarpenter@fgllp.com;mmatlock@fgllp.com
     Richard S Lauter Richard.Lauter@lewisbrisbois.com, lbbscaesars@gmail.com
     Ryan O. Lawlor Ryan.Lawlor@bryancave.com
     Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
     Vincent E. Lazar vlazar@jenner.com, docketing@jenner.com;thooker@jenner.com
     Alan M Lebensfeld alan.lebensfeld@lsandspc.com
     Caren A Lederer calederer@gct.law,
      mperez@gct.law,stasciotti@gct.law,tstephenson@gct.law,aleon@gct.law
     Steven H Leech s.leech@gozdel.com
     Mark E Leipold mleipold@gouldratner.com,
      gferguson@gouldratner.com;lgray@gouldratner.com;mhannon@gouldratner.com;gould-
      ecfs_notice@juralaw.net
     John P. Leon jleon@subranni.com, desk@subranni.com
     Theodore S Leonas tl@leonaslawoffices.com
     Brandon Levitan blevitan@proskauer.com,
      npetrov@proskauer.com;mbienenstock@proskauer.com;jliu@proskauer.com;pabelson@proskau
      er.com;GRAICHT@proskauer.com;vindelicato@proskauer.com;ebarak@proskauer.com;mzerjal
      @proskauer.com;ctheodoridis@proskauer.com
     Michael Joseph Linneman linnemanm@jbltd.com
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     Jordan M Litwin jordan@litwinlawfirm.com
     Sara E Lorber slorber@wfactorlaw.com,
      slorber@ecf.inforuptcy.com;nbouchard@wfactorlaw.com;bharlow@wfactorlaw.com
     David M Madden dmadden@sfgh.com
     Haig M. Maghakian ,
      paronzon@milbank.com;tkreller@milbank.com;rbaggs@milbank.com;dmuhrez@milbank.com;s
      vora@milbank.com;rwindom@milbank.com
     John Malevitis jhnymal@comcast.net
     Jeff J Marwil jmarwil@proskauer.com,
      mzerjal@proskauer.com;ctheodoridis@proskauer.com;sma@proskauer.com
     Richard McCord rmccord@certilmanbalin.com
     William F McCormick bill.mccormick@ag.tn.gov
     Daniel J McGuire dmcguire@winston.com, ECF_BANK@winston.com;dan-mcguire-
      2746@ecf.pacerpro.com
     Regina McIlvaine regina@lowenthalabrams.com, antoinette@lowenthalabrams.com
     Joshua M. Mester jmester@jonesday.com,
      gmarinelli@jonesday.com;vcrawford@jonesday.com;ekswanholt@jonesday.com;aldufault@jone
      sday.com
     James H. Millar james.millar@dbr.com
     Nicholas M Miller nmiller@ngelaw.com,
      ecfdocket@ngelaw.com;cdennis@ngelaw.com;mmirkovic@ngelaw.com
     Bryan E. Minier bminier@lathropgage.com,
      mvargas@lathropgage.com;krodriguez@lathropgage.com
     Michael L Molinaro michael.molinaro@akerman.com, kelley.evans@akerman.com
     James E. Morgan jem@h2law.com, smckinney@howardandhoward.com
     Margreta Morgulas mmorgulas@okinhollander.com
     Kevin H Morse kevin.morse@saul.com
     Daniel R Murray dmurray@jenner.com
     Christopher J. Nadeau cnadeau@traublieberman.com
     Roger J Naus rjnaus@wwmlaw.com, gbrown@wwmlaw.com
     David M Neff dneff@perkinscoie.com, nbagatti@perkinscoie.com,david-neff-perkins-coie-
      2051@ecf.pacerpro.com
     David Neier dneier@winston.com, dcunsolo@winston.com;chardman@winston.com
     John R O'Connor joconnor@sfgh.com, bkdocket@sfgh.com
     Michael V Ohlman mvohlman@ohlmanlaw.com, admin@ohlmanlaw.com
     Mark Page mpage@kelleydrye.com,
      KDWBankruptcyDepartment@kelleydrye.com;BankruptcyDepartment@Kelleydrye.com
     Robert L. Pattullo Jr pattullo@pattullolaw.com
     Aaron Paushter aaron.paushter@dlapiper.com
     Jeffrey Pawlitz jpawlitz@kirkland.com
     Lars A Peterson lapeterson@foley.com
     Lanora Pettit lpettit@robbinsrussell.com
     Paul V Possinger ppossinger@proskauer.com,
      mthomas@proskauer.com;mlespinasselee@proskauer.com;nwilliams@proskauer.com;erodriguez
      @proskauer.com;npetrov@proskauer.com;ddesatnik@proskauer.com
     Jody B Pravecek jody@pcfcash.com
     Megan Preusker mpreusker@mwe.com
     Eric S. Prezant eric.prezant@bclplaw.com, dortiz@bclplaw.com
     Scott A Pyle spyle@rubinoruman.com, amanuel@rubinoruman.com;ttoso@rubinoruman.com
     Robert Radasevich rradasevich@ngelaw.com, ewilson@nge.com;ecfdocket@ngelaw.com
     Amy Rapoport agibson@agdglaw.com, wserritella@agdglaw.com;jcole@agdglaw.com
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     N. Neville Reid nreid@foxswibel.com, bkdocket@foxswibel.com
     Richard Reinthaler rreinthaler@winston.com
     Benjamin Rhode benjamin.rhode@kirkland.com,
      dzott@kirkland.com;jzeiger@kirkland.com;judson.brown@kirkland.com;christopher.greco@kirk
      land.com;tlambert@caesars.com;gabriel.king@kirkland.com;aaron.david@kirkland.com
     Schonfeld Richard rreyes@cslawoffice.net
     Trent L Richards trichards@blgwins.com, hdaniels@blgwins.com
     Michael J Ripes mripes@rnbk.com
     Zachary A Risk riskz1@michigan.gov
     Peter J Roberts proberts@foxrothschild.com, cknez@foxrothschild.com
     Daniel P Roeser droeser@goodwinlaw.com
     David Rosner drosner@kasowitz.com, courtnotices@kasowitz.com
     Craig Rothenberg crothenberg@rrbslawnj.com
     Nathan Q. Rugg Nathan.Rugg@bfkn.com, jean.montgomery@bfkn.com
     Christina Sanfelippo csanfelippo@foxrothschild.com, orafalovsky@foxrothschild.com
     Brandy A Sargent basargent@stoel.com,
      erheaston@stoel.com;docketclerk@stoel.com;obhaker@stoel.com;cejordan@stoel.com;eleliasen
      @stoel.com;jason.abrams@stoel.com
     Ryan T Schultz rschultz@foxswibel.com, bkdocket@fslc.com
     Leslee Schwartz lschwartzatty@gmail.com
     Samuel Schwartz ecf@schwartzlawyers.com, schwartzecf@gmail.com
     John Sciaccotta jsci@agdglaw.com, molson@agdglaw.com
     Susan H Seabury susan.seabury@bakertilly.com
     David R Seligman dseligman@kirkland.com
     David R Seligman dseligman@kirkland.com
     David R Seligman dseligman@kirkland.com
     David R Seligman dseligman@kirkland.com
     David R Seligman dseligman@kirkland.com,
      gregory.pesce@kirkland.com;gerardo.mijaresshafai@kirkland.com;anthony.abate@kirkland.com
      ;kyle.arendsen@kirkland.com
     Jack M Shapiro jack@danielgoodmanlaw.com
     Brian L Shaw bshaw@foxrothschild.com, cknez@foxrothschild.com
     Patrick Sibley psibley@pryorcashman.com,
      SLieberman@PRYORCASHMAN.com;msilverman@pryorcashman.com
     Peter A Siddiqui peter.siddiqui@kattenlaw.com
     Stephen J Siegel ssiegel@novackandmacey.com, cziganto@novackandmacey.com
     Andrew I Silfen andrew.silfen@arentfox.com,
      Mark.Joachim@arentfox.com;Jackson.Toof@arentfox.com;Beth.Brownstein@arentfox.com;Man
      uel.Arreaza@arentfox.com;Lisa.Indelicato@arentfox.com
     Kevin C Smith ksmith@smithsersic.com, dgreen@smithsersic.com
     Wesley J Smith wes@cjmlv.com
     Jeffrey I Snyder jsnyder@bilzin.com, eservice@bilzin.com
     Jean Soh jsoh@polsinelli.com, chicagodocketing@polsinelli.com
     Michael T Sprengnether mts@doherty-progar.com
     Catherine L Steege csteege@jenner.com, docketing@jenner.com
     Richard A Stieglitz rstieglitz@cahill.com
     Richard M Strassberg rstrassberg@goodwinlaw.com
     Roman Sukley USTPRegion11.es.ecf@usdoj.gov,
      roman.l.sukley@usdoj.gov;cameron.g.gulden@usdoj.gov
     Benjamin Swetland bswetland@cherry-law.com
     John E Tangren jtangren@gelaw.com, gnovod@gelaw.com
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     Mark K Thomas mthomas@proskauer.com
     Joseph M Tiller jtiller@jonesday.com
     L. Judson Todhunter JTodhunter@howardandhoward.com
     Jennifer A Trofa jtrofa@subranni.com, desk@subranni.com
     John D. VanDeventer jvandeventer@jenner.com
     Elizabeth B Vandesteeg evandesteeg@sfgh.com, bkdocket@sfgh.com
     Michael D Warner mwarner@coleschotz.com, klabrada@coleschotz.com
     Matthew Warren matthew.warren@lw.com, chefiling@lw.com;beth.arnold@lw.com
     Martin J Wasserman mwasserman@carlsondash.com, knoonan@carlsondash.com
     Louis H Watson louis@watsonnorris.com
     Daniel I Waxman lexbankruptcy@wyattfirm.com
     Jeramy D Webb jwebb@proskauer.com
     Brian P Welch bwelch@burkelaw.com, gbalderas@burkelaw.com
     Paul Michael Weltlich pweltlich@lksu.com
     Latonia Williams lwilliams@goodwin.com,
      bankruptcy@goodwin.com;bankruptcyparalegal@goodwin.com
     Sean P. Williams sean.williams@saul.com
     Jolene M Wise wisej@sec.gov
     Samuel C. Wisotzkey swisotzkey@kmksc.com, kmksc@kmksc.com
     Scott A Wolfson swolfson@wolfsonbolton.com, stravis@wolfsonbolton.com
     Xiaoming Wu notice@billbusters.com,
      billbusters@iamthewolf.com;billbusters@ecf.inforuptcy.com;wuxr80263@notify.bestcase.com
     Amanda S Yarusso amanda.yarusso@gmail.com
     Barbara L Yong blyong@gct.law,
      mperez@gct.law,myproductionss@gmail.com,tstephenson@gct.law,aleon@gct.law;r61390@noti
      fy.bestcase.com
     Artur Zadrozny artur@bzlaw-firm.com
     David I Zalman dzalman@kelleydrye.com
     Scott M. Zauber szauber@subranni.com, desk@subranni.com
     Jeffrey Zeiger jzeiger@kirkland.com
     David J Zott dzott@kirkland.com,
      joe.graham@kirkland.com;james.sprayregen@kirkland.com;anthony.abate@kirkland.com;jeffrey
      .zeiger@kirkland.com
